
Pugsley Chiropractic, PLLC, as Assignee of Jean Guerline, Appellant, 
againstState Farm Mutual Automobile Ins. Co., Respondent.




Gary Tsirelman, P.C. (Darya Klein of counsel), for appellant.
Bruno, Gerbino &amp; Soriano, LLP (Nathan Shapiro of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Katherine A. Levine, J.), entered March 8, 2016. The order granted defendant's motion for summary judgment dismissing the complaint and denied plaintiff's cross motion for summary judgment.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath (EUOs), and denied plaintiff's cross motion for summary judgment. 
Contrary to plaintiff's contention, defendant sufficiently established plaintiff's failure to appear for two scheduled EUOs (see Stephen Fogel Psychological, P.C. v Progressive Cas. Ins. Co., 35 AD3d 720 [2006]; T &amp; J Chiropractic, P.C. v State Farm Mut. Auto. Ins. Co., 47 Misc 3d 130[A], 2015 NY Slip Op 50406[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]). 
To the extent defendant seeks to have this appeal dismissed as untimely based upon dehors-the-record allegations included in an appellate appendix, we decline to review its argument. Defendant's remedy was to make a motion for that relief.
Accordingly, the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: November 09, 2018










